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 LINITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 ANEES HASNAIN AND LUIS MEJIA,
                                                                      DEFENDANTS CITY OF
                                         Plaintifl
                                                                      NEW YORK'
                        -against-                                     ALBERGO,
                                                                      ECHAVARRIA, SUAZO,
 THE CITY OF NEW YORK, NYPD POLICE                                    RUBINO, BEIRO'
 OFFICER NTCHOLAS ALBERGO (TAX 954471),                               LIVINGSTON, AMAYA,
 NYPD POLICE OFFICER ALLYSON                                          CASTILLO, NOTO,
 ECHAVARRIA (TAX 951703), NypD poLICE                                 BLAKE, SOLORZANO,
OFFICER FREDDY SUAZO, NYPD SGT.                                       AND SCHUTZ'S
GIANFRANCO RUBINO, NYPD POLICE                                        ANSWER TO THE
OFFICER BENJAMIN BEIRO, NYPD SGT.                                     FIRST AMENDEI)
ROBERT LIVINGSTON, NYPD CAPTAIN                                       COMPLAINT
ANGEL AMAYA, NYPD POLICE OFFICER
JASON CASTILLO, NYPD POLICE OFFICER
NICHOLAS NOTO, NYPD POLICE OFFICER                                   24-CV-6221 (JLR)
NICHOLAS BLAKE, NYPD POLICE OFFICER
JOHNNY SOLORZANO, AND NYPD POLICE
                                                                     Jury Trial Demanded
OFFICER DIANA SCHUTZ,

                                           Defendants



               Defendants City of New York, Albergo, Echavarria, Suazo, Rubino, Beiro,

Livingston, Amaya, Castillo, Noto, Blake, Solorzano, and Schutz ("Defendants"), by their

attorney, MURIEL GOODE-TRUFANT, Corporation Counsel of the City ofNew york, for their

answer to the First Amended Complaint ("Complaint"), respectfully allege as follows:

                       1. Deny knowledge or information sufficient to form a belief as to the truth
       of the allegations set forth in paragraph.(1,, of the Complaint.

                      2. Deny the allegations set forth inparagraph "2" of thecomplaint, except
       admit that the City of New York is a municipal corporation organized under the laws of

      the State of New York and City of New York and maintains a police department, and

      respectfully refer the Court to the New York City Charter and Administrative Code for a
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recitation of the relationship between the City and the New York City Police Department

('NYPD").

                3. Deny the allegations set forth in paragraph "3" of the Complaint, except
admit that defendant Nicholas Albergo was employed by the City of New York as a

member ofthe NYPD on September 13, 2021, and that plaintiffs purport to bring this action

as stated therein.

                4. Deny the allegations set forth in paragraph oo4" of the Complaint, except
admit that defendant Allyson Echavarria was employed by the City of New York as a

member of the NYPD on September 1 3, 2021 , and that plaintiffs purport to bring this action

as stated therein.

                5. Deny the allegations set forth in Paragraph "5" of the Complaint, except
admit that defendants were identified pursuant to the Court's Order.

                6. Deny the allegations set forth in paragraph "6" of the Complaint, except
admit that plaintiffs bring this action and purport to invoke the Court's jurisdiction as stated

therein.

                7   . Deny the allegations set forth in paragraph o'7" ofthe Complaint, except
admit that plaintiffs purport to base venue in this district as stated therein.

                8. The allegations set forth in paragraph "S" of the Complaint are legal
conclusions to which no response is required.

                9. Deny the allegations set forth in paragraph "9" of the Complaint.
                10. Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph ool0" of the Complaint.

                11. Deny the allegations set forth in paragraph
                                                                  o'l1" of the Complaint.




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                12.Deny the allegations set forth in paragraph "12" of the Complaint.

                13. Deny the allegations set forth in paragraph "13" of the Complaint,

except admit that plaintiff Hasnain wore a helmet.

                14. Deny the allegations set forth in paragraph oo14" of the Complaint.

                15. Deny the allegations set forth in paragraph o'15" of the Complaint

                16. Deny the allegations set forth in paragraph "16" of the Complaint.

                17. Deny the allegations set forth in paragraph "17" of the Complaint.

                lS.Deny the allegations set forth in paragraph "18" of the Complaint,

except admit that plaintiffs were lawfully detained and arrested; to the extent paragraph

"18" sets forth conclusions of law, no response is required.

                19. Deny the allegations set forth in paragraph'o19" of the Complaint; to the

extent paragraph "19" sets forth conclusions of law, no response is required.

               20. Deny the allegations set forth in paragraph "20" of the Complaint; to the

extent paragraph "20" sets forth conclusions of law, no response is required.

               2I. Deny the allegations set forth in paragraph "21" of the Complaint; to
the extent paragraph "21" sets forth conclusions of law, no response is required.

               22. Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraphu22" of the Complaint.

               23.Deny the allegations set forth in paragraph "23" of the Complaint,

except admit that plaintiff Mejia was lawfully transported to a police precinct.

               24.Deny the allegations set forth in paragraph "24" of the Complaint,

except admit that plaintiff Hasnain was lawfully transported to a police precinct.

               25.Deny the allegations set forth in paragraph'025" of the Complaint.




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                26.Deny the allegations set forth in paragraph "26" of the Complaint.

                27.Deny the allegations set forth in paragraph "2J" of the Complaint.

                28. Deny the allegations set forth in paragraph'028" of the Complaint.

                29. Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraphu2g" of the Complaint.

               30. Deny the allegations set forth in paragraph "30" of the Complaint.

               3 1 . Deny the allegations set forth in paragraph "3 1" of the Complaint.


               32. -The allegations set forth in paragraph "32" of the Complaint are legal

conclusions to which no response is required.

               33. Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph*33" of the Complaint.

               34. Deny the allegations set forth in paragraph "34" of the Complaint,
        .
except admit that plaintiff Mejia was granted an ACD.

               35. Deny the allegations set forth in paragraph o'35" of the Complaint; to the

extent paragraph o'35" sets forth conclusions of law, no response is required.

               36. Deny the allegations set forth in paragraph o'36" of the Complaint.

                                                                  0037"
               37 . Deny the allegations set forth in paragraph           of the Complaint; to the

extent paragraph "37" sets forth conclusions of law, no response is required.

               38. Deny the allegations set forth in paragraph "38" of the Complaint; to the

extent paragraph "38" sets forth conclusions of law, no response is required.

               39. The allegations set forth in paragrapho'3g" of the Complaint are legal

conclusions to which no response is required.




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                 40. Deny the allegations set forth in paragraph "40" of the Complaint; to the

 extent paragraph o'40" sets forth conclusions of law, no response is required.

                 41. Deny the allegations set forth in paragraph "41" of the Complaint; to the

 extent paragraph "41 " sets forth conclusions of law, no response is required.

                 42.Deny the allegations set forth inparagraph "42" of the Complaint; to the

 extent paragraph "42" sets forth conclusions of law, no response is required.

                43. Deny the allegations set forth in paragraph'043" of the Complaint and

its sub-parts, and respectfully refer the Court to the cited cases for a full and accurate

recitation of their content.

                44.Deny the allegations set forth in paragraph "44" of the Complaint, and

respectfully refer the Court to the cited case for a full and accurate recitation of its content.

                45. Deny the allegations set forth in paragraph "45" of the Complaint, and

respectfully refer the Court to the cited case for a full and accurate recitation of its content.

                46. Deny the allegations set forth in paragraph'046" of the Complaint.

                47 . Deny the allegations set forth in paragraph 0047" of the Complaint, and


respectfully refer the Court to the cited case for a full and accurate recitation of its content.

                48. Deny the allegations set forth in paragraphoo48" of the Complaint.

                49.Deny the allegations set forth in paragraphoo4g" of the Complaint.

                50. Deny the allegations set forth in paragraph "50" of the Complaint, and

respectfully refer the Court to the cited testimony for a full and accurate recitation of its

content.

               51. Deny the allegations set forth in paragraph o'51" of the Complaint.

               52. Deny the allegations set forth in paragraph "52" of the Complaint.




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                  53. Deny the allegations set forth in paragraph "53" of the Complaint; to

 the extent paragraph 0053" sets forth conclusions of law, no response is required.

                 54. Deny the allegations set forth in paragrapho'S4" ofthe Complaint; to the

 extent paragraph "54" sets forth conclusions of law, no response is required.

                 55. Deny the allegations set forth in parugraph "55" of the Complaint; to

 the extent paragraph "55" sets forth conclusions of law, no response is required.

                 56. Deny the allegations set forth in paragraph "56" of the Complaint, and

 respectfully refer the Court to the cited report for a full and accurate recitation of its content.

                 57. Deny the allegations set forth in paragraph "57" of the Complaint, and

respectfully refer the Court to the cited report for a full and accurate recitation of its content.

                 58. Deny the allegations set forth in parugraph o'58" of the Complaint, and

respectfully refer the Court to the cited case for a full and accurate recitation of its content.

                 59. Deny the allegations set forth in paragraph 0059" of the Complaint, and

respectfully refer the Court to the cited case for a full and accurate recitation of its content.

                 60. Deny the allegations set forth in paragraph "60" of the Complaint.

                 61. Deny the allegations set forth in paragraph'061" of the Complaint,

except admit that the City of New York and NYPD and its members have been sued by

protesters.

                62.Deny the allegations set forth in paragraph 0062" of the Complaint and

its sub-parts, and respectfully refer the Court to the cited cases for a full and accurate

recitation of their content.

                63. Deny the allegations set forth in paragraph"63" ofthe Complaint; to the

extent paragraph 0063" sets forth conclusions of law, no response is required.




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                 64. Deny the allegations set forth in paragraph "64" of the Complaint; to the

 extent paragraph "64" sets forth conclusions of law, no response is required.

                 65. Deny the allegations set forth in paragraph "65" of the Complaint,

 except admit that the NYPD has created Disorder Control Guidelines.

                 66. Deny the allegations set forth in paragraph "66" of the Complaint.

                 67.Deny the allegations set forth in paragraph"6T" of the Complaint.

                 68. Deny the allegations set forth in paragraph "68" of the Complaint.

                 69. Deny the allegations set forth in paragraph "69" of the Complaint.

                 70. Deny the allegations set forth in paragraph "70" of the Complaint.

                 7 I . Deny the allegations set forth in paragraph "71" of the Complaint.


                 72.Deny the allegations set forth in paragraph "72" of the Complaint.

                 73. Deny the allegations set forth in paragraph o'73" of the Complaint.

                 74.Deny the allegations set forth in parugraphoo74" of the Complaint.

                 75. Deny the allegations set forth in paragraph "75" of the Complaint,

except admit that SRG was formed in20I5.

                76.Deny the allegations set forth in paragraph "76" of the Complaint,

except admit that SRG has a command for each of the five boroughs.

                77.Deny the allegations set forth in paragraph 0077" ofthe Complaint and

respectfully refer the Court to the cited article for a fill and accurate recitation of its content.

                78. Deny the allegations set forth in paragraph 0078" of the Complaint.

                79. Deny the allegations set forth in paragraph "79" of the Complaint and

respectfully refer the Court to the cited article for a full and accurate recitation of its

content.




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                  80. Deny the allegations set forth in paragraph "S0" of the Complaint.

                  81. Deny the allegations set forth in paragraph "81" of the Complaint.

                  82. Deny the allegations set forth in paragraph 0082" of the Complaint.

                 83. Deny the allegations set forth in paragraph "83" of the Complaint and

respectfully refer the Court to the cited report for a full and accurate recitation of its content.

                 84. Deny the allegations set forth in paragraph "S4" of the Complaint.

                 85. Deny the allegations set forth in paragraph "85" of the Complaint.

                 86. Deny the allegations set forth in paragraph "86" of the Complaint and

respectfully refer the Court to the cited article for a full and accurate recitation of its

content.

                 87. Deny the allegations set forth in paragraph 0087" of the Complaint and

respectfully refer the Court to the referenced reports for a full and accurate recitation of

their content.

                 88. Deny the allegations set forth in paragraph "88" of the Complaint.

                 89. Deny the allegations set forth in paragraph "89" of the Complaint and

respectfully refer the Court to the cited report for a full and accurate recitation of its content.

                 90. Deny the allegations set forth in paragraph "90" of the Complaint.

                 91. Deny the allegations set forth in paragraph "91" of the Complaint.

                 92.Deny the allegations set forth in paragraph "92" of the Complaint and

respectfully refer the Court to the referenced testimony for a full and accurate recitation of

its content.

                 93. Deny the allegations set forth in paragraph "g3" of the Complaint.




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                 94. Deny knowledge or information sufficient to form a belief as to the truth

 of the allegations set forth in paragraph"g4" of the Complaint.

                 95. Deny the allegations set forth in paragraph "g5" of the Complaint and

 respectfully refer the Court to the cited report for a full and accurate recitation of its content.

                 96. Deny the allegations set forth in paragraph "96" of the Complaint; to the

 extent paragraph 0096" sets forth conclusions of law, no response is required.

                 97.Deny the allegations set forth in paragraph "97', of the Complaint.

                 98. Deny the allegations set forth in paragraph "98" of the Complaint.

                 99. Deny the allegations set forth in paragraph "99" of the Complaint.

                 100. Deny the allegations set forth in paragraph "100" of the Complaint.
                 101. Deny the allegations set forth in paragraph"l01" of the Complaint.
                 102. Deny the allegations set forth in paragraph "I02" of the Complaint,
except admit that plaintiffs and other protesters were lawfully restrained.

                103. Deny the allegations set forth in paragraph "103" of the Complaint.
                I04. Deny the allegations set forth in paragraph "l04" of the Complaint.
                105. Deny the allegations set forth in paragraph "105" of the Complaint.
                106. Deny the allegations set forth in paragraph"l06u of the Complaint
and respectfully refer the Court to the referenced case for a full and accurate recitation of

its content.

                107. Deny the allegations set forth in paragraph"l0T" of the Complaint
and respectfully refer the Court to the referenced case for a full and accurate recitation of

rts content.




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                 108. Deny the allegations set forth in paragraph "108" of the Complaint
 and respectfully refer the Court to the referenced case for a full and accurate recitation of

 its content.

                 109. Deny the allegations set forth in paragraph "l09" of the Complaint
 and respectfully refer the Court to the referenced cases for a full and accurate recitation of

 their content; to the extent paragraph "l0g" sets forth conclusions of law, no response is

 required.

                 110. Deny the allegations set forth in paragraph "110" of the Complaint
 and respectfully refer the Court to the referenced report for a full and accurate recitation of

 its content.

                111. Deny the allegations set forth in parugraph"III" of the Complaint.
                ll2.    Deny the allegations set forth in paragraph'oll2" of the Complaint.

                113. Deny the allegations set forth in paragraph 'oll3" of the Complaint.
                ll4.    The allegations set forth in paragraph "I14" of the Complaint are

 legal conclusions to which no response is required.

                115. Deny the allegations set forth in paragraph "1I5" of the Complaint.
                116. Deny the allegations set forth in paragraph "116" of the Complaint;
to the extent paragraph "116" sets forth conclusions of law, no response is required.

                ll7.    Deny the allegations set forth in paragraph*llTo'of the Complaint

and respectfully refer the Court to the referenced letter for a full and accurate recitation of

its content.

                118. Deny the allegations set forth in pangraph "118" of the Complaint;
to the extent paragraph "l l8" sets fonh conclusions of law, no response is required.




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                   ll9.   Deny the allegations set forth in paragraph "IIgu of the Complaint;

  to the extent paragraph "II9u sets forth conclusions of law, no response is required.

                   120. Deny the allegations set forth in paragraph "120" of the Complaint;
 to the extent paragraph "120" sets forth conclusions of law, no response is required.

                   l2l.   Deny the allegations set forth in paragraph"l2I" of the Complaint;

 to the extent paragraph "12I" sets forth conclusions of law, no response is required.

                   122. Deny the allegations set forth in paragraph "122" of the Complaint;
 to the extent paragraph o'I22u sets forth conclusions of law, no response is required.

                  123. Deny the allegations set forth in paragraph "l23" of the Complaint,
 except admit that plaintiffs purport to bring this action as stated therein; to the extent

 paragraph *123" sets forth conclusions of law, no response is required.

                  124. Deny the allegations set forth in paragraph "I24" of the Complaint;
 to the extent paragraph "124" sets forth conclusions of law, no response is required.

                  125. Deny the allegations set forth in paragraph "125" of the Complaint;
 to the extent paragraph "I25" sets forth conclusions of law, no response is required.

                  126. Deny the allegations set forth in paragraph"126" of the Complaint
and respectfully refer the Court to the referenced article for a full and accurate recitation

of its content.

                  127. Deny the allegations set forth in paragraph "127" of the Complaint
and respectfully refer the Court to the referenced case for a full and accurate recitation of

its content.

                  128. Deny the allegations set forth in paragraph"I2S" of the Complaint;
to the extent paragraph "128" sets forth conclusions of law, no response is required.




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                  129. Deny the allegations set forth in paragraph"lzg" of the Complaint;
  to the extent paragraph '0129" sets forth conclusions of law, no response is required.

                  130. In response to the allegations set forth in paragraph "130" of the
  Complaint, defendants repeat and reallege the responses set forth in the preceding

  paragraphs of this answer, as if fully set forth herein.

                  13 I   .   Deny the allegations set forth in paragraph "13I" of the Complaint;

 to the extent paragraph ool3Iu sets forth conclusions of law, no response is required.

                  132. Deny the allegations set forth in paragraph"l32" of the Complaint;
 to the extent paragraph ool32" sets forth conclusions of law, no response is required.

                  133. Deny the allegations set forth in paragraph'0133" of the Complaint;
 to the extent paragraph "1330' sets forth conclusions of law, no response is required.

                 134. Deny the allegations set forth in paragraph"l34" of the Complaint;
 to the extent paragraph"l34u sets forth conclusions of law, no response is required.

                 135. Deny the allegations set forth in paragraph "l35" of the Complaint;
 to the extent paragraph u135" sets forth conclusions of law, no response is required.

                 136. In response to the allegations set forth in paragraph *136' of the
 Complaint, defendants repeat and reallege the responses set forth in the preceding

 paragraphs of this answer, as if fully set forth herein.

                 137. Deny the allegations set forth in paragraph"I3T" of the Complaint;
to the extent paragraph "137" sets forth conclusions of law, no response is required.

                 138. Deny the allegations set forth in paragraphool3S" of the Complaint;
to the extent paragraph "138" sets forth conclusions of law, no response is required.




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                  I39. Deny the allegations set forth in paragraph ooI3g" of the Complaint;
  to the extent paragraph "139" sets forth conclusions of law, no response is required.

                  140. In response to the allegations set forth in paragraph "I40u of the
  Complaint, defendants repeat and reallege the responses set forth in the preceding

  paragraphs of this answer, as if fully set forth herein.

                  I4l'   Deny the allegations set forth in paragraph"l4l" of the Complaint;

 to the extent paragraph "I41" sets forth conclusions of law, no response is required.

                  142. Deny the allegations set forth in paragraph '0142" of the Complaint;
 to the extent paragraph '0142" sets forth conclusions of law, no response is required.

                 143. Deny the allegations set forth in paragraph "143" of the Complaint;
 to the extent paragraph o'I43" sets forth conclusions of law, no response is required.

                 144. The allegations set forth in paragraph u144" of the Complaint are
 legal conclusions to which no response is required.

                 145. The allegations set forth in paragraph "1450'of the Complaint are
 legal conclusions to which no response is required.

                 146. The allegations set forth in paragraph "146" of the Complaint are
 legal conclusions to which no response is required.

                 I47. Deny the allegations set forth in paragraph "l47" of the Complaint
and respectfully refer the Court to the referenced case for a full and accurate recitation of

its content.

                148. Deny the allegations set forth in paragraph "148" of the Complaint
and respectfully refer the Court to the referenced case for a full and accurate recitation of

its content.




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                 149. Deny the allegations set forth in paragraph"l4g" of the Complaint;
 to the extent paragraph "149u sets forth conclusions of law, no response is required.

                 150. Deny the allegations set forth in paragraph 00150" of the Complaint;
 to the extent paragraph "150" sets forth conclusions of law, no response is required.

                 151. In response to the allegations set forth in paragraph o'151" of the
 Complaint, defendants repeat and reallege the responses set forth in the preceding

 paragraphs of this answer, as if fully set forth herein.

                 152. The allegations set forth in paragraph "I52" of the Complaint are
 legal conclusions to which no response is required.

                 153. Deny the allegations set forth in paragraph "l53" of the Complaint;
 to the extent paragraph "153" sets forth conclusions of law, no response is required.

                 I54. Deny the allegations set forth in paragraph''I54" of the Complaint;
 to the extent paragraph "154" sets forth conclusions of law, no response is required.

                155. Deny the allegations set forth in paragraph "155" of the Complaint;
 to the extent paragraph "155" sets forth conclusions of law, no response is required.

                156. Deny the allegations set forth in paragraph"ls6u of the Complaint;
to the extent paragraph "156" sets forth conclusions of law, no response is required.

                157. Deny the allegations set forth inparagraph''ls7" of the Complaint;
to the extent paragraph "157" sets forth conclusions of law, no response is required.

                158. Deny the allegations set forth in paragraph'0158" of the Complaint;
to the extent paragraph "l58" sets forth conclusions of law, no response is required.

                159. Deny the allegations set forth in paragraph "159" of the Complaint;
to the extent paragrapho'|5g" sets forth conclusions of law, no response is required.




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                   160. Deny the allegations set forth in paragraph "160" of the Complaint;
 to the extent paragraph "160" sets forth conclusions of law, no response is required.

                   I6L    Deny the allegations set forth in paragraph'ol6l" of the Complaint;

 to the extent paragraph ul6l" sets forth conclusions of law, no response is required.

                   162. In response to the allegations set forth in paragraph "162" of the
 Complaint, defendants repeat and reallege the responses set forth in the preceding

 paragraphs of this answer, as if fully set forth herein.

                   163. Deny the allegations set forth in paragraph"I63" of the Complaint;
 to the extent paragraph "163" sets forth conclusions of law, no response is required.

                  ,164. Deny the allegations set forth in paragraph'0I64" of the Complaint;
 to the extent paragraph "164" sets forth conclusions of law, no response is required.

                  165. Deny the allegations set forth in paragraph "l65" of the Complaint;
 to the extent paragraph "165" sets forth conclusions of law, no response is required.

                  166. Deny the allegations set forth in paragraph"l66 of the Complaint;
 to the extent paragraph "166" sets forth conclusions of law, no response is required.

                   F'IRST DEF'ENSE/                         DEFENSE:

                  167. The Complaint fails to state a claim upon which relief can be
granted.

               SECOND DEFENSE/AFFIRMATIVE DEFENSE:

           168.      Any injury alleged to have been sustained resulted from plaintiffs' own

culpable or negligent conduct or the culpable andlor the negligent conduct of others for

whom the City of New York is not responsible, and was not the proximate result of any act




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 of the Defendants because they, inter alia, obstructed traffic and governmental
 administration.

                   THIRD DEF'E,NSE/A               TIVE DEFENSE:

          169.        The Defendants did not violate any clearly established constitutional or

 statutory right of which a reasonable person would have known and, therefore, are

 protected by qualified immunity.

                FOURTH DEFENSE/AFF'IRMATIVE DEFENSE :

         170.        The Defendants have not violated any rights, privileges or immunities

 under the Constitution or laws of the United States or the State of New York or any political

 subdivision thereof nor have Defendants violated any act of Congress providing for the

 protection of civil rights.

                   FIFTH D                               DEFENSE:

         I7l.        To the extent any force was used, such force was reasonable, justified,

 and necessary to accomplish official duties and to protect the officers' own physical safety

 and the safety of others.

                 SIXTH DEFENSE/                   TIVE DEFENSE:

         I72.        Punitive damages cannot be assessed against defendant City.



                SEVENTH DEF'ENSE/A                  TIVE DEFENSE:

         173.        Plaintiffs have failed to state a claim under Monell v. Dep't of Social

Services,436 U.S. 658 (1978)




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                        EIGHTH DEFENSE/AFFIRMATIVE DEF'ENSE:

               174.        At all times relevant to the acts alleged in the Complaint, the Defendants

       acted reasonably in the proper and lawful exercise of their discretion. Therefore, they are

       entitled to immunity on any state law claims.

                        NINTH DEFENSE/AFFIRMATIVE DEFENSE:

               175.        At all times relevant to the acts alleged in the Complaint, the duties and

       functions of the municipal defendant officials entailed the reasonable exercise of proper

       and lawful discretion. Therefore, defendant City is entitled to governmental immunity from

       liability under New York common law.

                        TENTH DEFENSE/AFFIRMATIVE DEFENSE :

                        176. Any claims arising under New York State law may be barred, in
       whole or in part, by reason of plaintiffs' failure to comply with the requirements of the

       N.Y. GpN. Mrnr. Lew g 50-(e), (h) and/or (i).

                        ELEVENTH DEFENSE/AFFIRMATIVE DEFENSE:

              177.        Plaintiffs' claims may be barred, in whole or in part, by their own

       contributory and comparative negligence and by assumption of risk because they, inter

      alia, obstructed traffic and governmental administration.

                   TWELFTH DEFENSE/AFFIRMATIVE DEFENSE:

              178.        There was probable cause for plaintiffs' arrest, detention and

      prosecution because plaintiffs, inter alia, obstructed traffic and govemmental

      administration.

             WHEREFORE, Defendants City of New York, Albergo, Echavarria, Suazo,

Rubino, Beiro, Livingston, Amaya, Castillo, Noto, Blake, Solorzano, and Schutz demand




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judgment dismissing the Complaint in its entirety, together with the costs and disbursements of

this action, and such other and further relief as the Court may deem just and proper.

Dated:          New York, New York
                February 26,2025


                                             MURIEL GOODE-TRUFANT
                                             Corporation Counsel of the City of New York
                                             Attorney for Defendants City of New York, Albergo,
                                             Echavarria, Suazo, Rubino, Beiro, Livingston,
                                             Amaya, Castillo, Noto, Blake, Solorzano, and Schutz
                                             100 Church Street,
                                             New York, New York 10007
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